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                         UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 RALEIGH DIVISION


  IN RE:

  Turner Oakwood Properties, LLC                              CASE NO. 15-01276-5-DMW

                 Debtor.                                             CHAPTER 11

                                        CHAPTER 11 PLAN

          NOW COMES TURNER OAKWOOD PROPERTIES, LLC (“Debtor”), debtor-in-
  possession in this Chapter 11 case and files the following Chapter 11 Plan pursuant to § 1121(a)
  of the Bankruptcy Code.

                                            ARTICLE I
                                           DEFINITIONS

         The following terms used in the Chapter 11 Plan shall, unless the context otherwise
  requires, have the meanings specified below:

          1.1    Administrative Expense Claim: a cost or expense of administration in the case
  allowable under § 503(b) of the Bankruptcy Code, including but not limited to any actual,
  necessary expense of preserving or liquidating the estate, any actual, necessary expense of
  operating the business of the Debtor, any actual, necessary expense of consummating the Plan
  and all allowances, costs and fees approved by the Bankruptcy Court in accordance with § 330 of
  the Bankruptcy Code.

          1.2    Allowed Administrative Expense Claim: any existing or future Administrative
  Expense Claim either (i) for which a fee application has been filed and which has been allowed
  by a Final Order, or (ii) as to any other Administrative Expense Claim, an application was filed;
  and (a) no objection to the allowance thereof has been interposed within the applicable period of
  limitation fixed by this Plan, or (b) any timely objection thereto has been determined and all or
  some portion of the claim has been allowed by a Final Order.

          1.3     Allowed Claim: any claim (a) which shall have been listed by the Debtor as
  undisputed, non-contingent and liquidated on the Schedules filed with the Court; (b) which shall
  have been properly filed as a Proof of Claim with the United States Bankruptcy Court prior to
  Confirmation, and to the extent that the underlying claim is based on a judgment, such judgment
  is a final judgment for which no appeal by the Debtor is pending in state or federal court, and to
  which Debtor does not file an objection with the United States Bankruptcy Court, or which is
  ultimately allowed by the Bankruptcy Court over such an objection; or (c) which arose out of the
  rejection of an executory contract or unexpired lease as provided for by the terms of this Plan,

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  and which shall have been properly filed as a Proof of Claim with the United States Bankruptcy
  Court on or before the expiration of thirty (30) days after the Effective Date, and to which Debtor
  does not file an objection or which is ultimately allowed by the Bankruptcy Court over any such
  objection. Where there is a difference between the amounts scheduled as undisputed by the
  Debtor in their Schedules and the amount set forth in the Proof of Claim filed by an affected
  creditor, the amount shown in the Proof of Claim shall govern for purposes of allowance unless
  objected to by the Debtor, in which case, the Claim shall be the amount allowed by the
  Bankruptcy Court. Unless otherwise specified in the Plan, Allowed Claim shall not include
  interest on the principal amount of the claim from and after the Filing Date.

        1.4    Allowed Unsecured Claim:           an Unsecured Claim that is or has become an
  Allowed Claim.

        1.5    Allowed Priority Tax Claim: a Priority Tax Claim, which is or has become an
  Allowed Claim.

           1.6    Allowed Secured Claim: a Secured Claim, which is or has become an Allowed
  Claim.

         1.7     Ballot: the form or forms which will be distributed to Creditors and the holders of
  Equity Interests together with a disclosure statement pursuant to § 1125 of the Bankruptcy Code
  in connection with the Debtor’s solicitation of acceptance or rejections of this Plan.

         1.8     Bankruptcy Code: the Bankruptcy Reform Act of 1978, as amended, title 11 of
  the United States Code, in effect on the Filing Date.

         1.9    Bankruptcy Court: the United States Bankruptcy Court for the Eastern District of
  North Carolina, including the United States Bankruptcy Judge presiding in this case.

          1.10 Bankruptcy Rules: the Federal Rules of Bankruptcy Procedure, as amended, in
  effect on the Filing Date.

         1.11 Business Day: shall mean any day on which banks are open to carry on their
  ordinary commercial banking business in the State of North Carolina.

        1.12 Chapter 11 Case: the Chapter 11 Case of TURNER OAKWOOD PROPERTIES,
  LLC case no. 15-01276-5-DMW, commenced under the provisions of Chapter 11 of the
  Bankruptcy Code on the Filing Date in the Bankruptcy Court.

          1.13 Claim: any right to payment, or any right to an equitable remedy for breach of
  performance if such breach gives rise to right to payment, whether or not such right to payment
  or right to an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
  disputed, undisputed, secured, or unsecured.

           1.14   Class: a class of Claims or Equity Interests as indicated in the Plan.

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         1.15 Confirmation Date: the date upon which an order confirming this Plan in
  accordance with the provisions of Chapter 11 of the Bankruptcy Code, entered by the
  Bankruptcy Court, becomes a Final Order.

         1.16 Creditor: any Entity that is the holder of a Claim against the Debtor that arose on
  or before the Filing Date or a Claim against the Debtor’s estate of the kind specified in §§
  502(g), 502(h), or 502(i) of the Bankruptcy Code.

         1.17    Debtor: TURNER OAKWOOD PROPERTIES, LLC, the debtor in the Chapter
  11 Case.

          1.18. Disclosure Statement: the disclosure statement, as amended and supplemented,
  and approved by the Bankruptcy Court for use in connection with the solicitation of acceptances
  of this Plan.

          1.19 Disputed Claim: any Claim that is not an Administrative Expense Claim and
  either (i) is scheduled by a Debtor as disputed, contingent or unliquidated, or (ii) proof of which
  has been filed with the Bankruptcy Court and an objection to the allowance thereof, in whole or
  in part, has been or is interposed prior to the final date provided under this Plan for the filing of
  such objections (or thereafter pursuant to an order of the Bankruptcy Court) and which objection
  has not been settled or determined by a Final Order.

          1.20 Disputed or Unresolved Administrative Expense Claim: any existing or future
  Claim that is an Administrative Expense Claim and either : (i) (a) an application for payment was
  or will be filed on or before the date designated by this Plan, or pursuant to any order of the
  Bankruptcy Court, as the last date for filing the application for payment; and (b) as to which
  either (I) an objection to the allowance thereto has been interposed within the applicable period
  of limitation that has not yet been resolved by a Final Order, or (II) no Final Order has been
  issued if a Final Order is required by § 330 of the Bankruptcy Code; or (ii) an application for
  payment was filed after the last date designated for such filing as described above, whether or
  not an objection to the allowance thereof has been interposed.

         1.21 Distributable Property: the property distributable to Creditors under this Plan,
  after deduction for any expenses properly chargeable against the Distributable Property in
  accordance with this Plan.

         1.22    Effective Date: the date occurring fifteen (15) days after the Confirmation Date.

        1.23 Entity: an individual, a corporation, a partnership, an association, a joint stock
  company, a joint venture, an estate, a trust, or an incorporated organization.

         1.24    Equity Interest: any equity interest in the Debtor as of the Filing Date.



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        1.25 Filing Date: March 6, 2015, the date upon which the Debtor filed with the
  Bankruptcy Court its petition for relief under title 11, commencing the Chapter 11 Case.

          1.26 Final Order: an order or judgment of the Bankruptcy Court that has not been
  reversed, stayed, modified or amended and as to which any prescribed time to appeal has expired
  and no petition for certiorari is pending, or as to which any right to appeal or petition for
  certiorari has been waived in writing in a manner satisfactory to the Debtor or, if an appeal or
  certiorari thereof has been sought, the order or judgment of the Bankruptcy Court has been
  affirmed by the highest court to which the order was appealed, or certiorari has been denied, and
  the prescribed time to take any further appeal or to seek certiorari or further reargument or
  rehearing of any appeal has expired.

          1.27 Insider: shall refer, separately and collectively, to any director, officer, or person
  in control of the Debtor, a partnership in which the Debtor is a general partner; a general partner
  of the Debtor or relative of a general partner, director, officer, or person in control of the
  Debtor, or any entity which is an insider as defined in 11 U.S.C. 101(31).

          1.28 Plan: this Plan of Reorganization, either in its present form or as it may be
  altered, amended or modified from time to time.

         1.29 Priority Tax Claim: any Claim, other than an Administrative Expense claim,
  which is entitled to priority in payment under § 507(a)(8) of the Bankruptcy Code.

          1.30 Pro Rata: the ratio, as of the date of determination thereof, of the amount of the
  Allowed Claims held by any Creditor in the indicated Classes to the aggregate to the amount of
  Allowed Claims in the indicated Classes (including, in each such calculation, the full amount of
  Disputed Claims in the indicated Classes that have been asserted or are otherwise pending and
  that have not yet been allowed or otherwise disposed of).

          1.31 Secured Claim: the portion of any Claim against the Debtor determined in
  accordance with section 506(a) of the Bankruptcy Code, as of the Confirmation Date, secured by
  a valid, perfected and unavoidable lien.

        1.32 Secured Rate: Simple interest at the rate of 4.0%, or such interest rate as the
  Bankruptcy Court finds is necessary for confirmation of this Plan.

          1.33 Unclaimed Property: any funds which are unclaimed on the 120th day following
  the date on which such Unclaimed Property was mailed or otherwise sent to the holder of an
  Allowed Claim or allowed Administrative Expense Claim pursuant to this Plan, and shall include
  (i) checks (and the funds represented thereby) that have been returned as undeliverable without a
  proper forwarding address, (ii) funds for checks which have not been presented for payment and
  paid, and (iii) checks (and the funds represented thereby) that were not mailed or delivered
  because of the absence of a proper address to which to mail or deliver such property.



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          1.34 Unsecured Claim: any Claim other than an Administrative Expense Claim, a
  Priority Tax Claim, a Secured Claim, or an Equity Interest.

         1.35   Unsecured Creditor: any Creditor that holds an Unsecured Claim.

         1.36 Unsecured Rate: the Federal Judgment Rate on the Effective Date or such rate
  necessary to confirm the Plan.


                                          ARTICLE II
                                        CONSTRUCTION

          2.1    Applicability of the Bankruptcy Code and Bankruptcy Rules: Where not
  inconsistent or in conflict with the provisions of the Plan, the words and phrases used herein
  shall have the meanings ascribed thereto in the Bankruptcy Code and in the Bankruptcy Rules.


                                       ARTICLE III
                              MEANS FOR IMPLEMENTING PLAN

          3.1     Means for Implementing the Plan. The Debtor is a North Carolina Limited
  Liability Company which owns 75% interest in four (4) separate pieces of residential property
  which has been subdivided for purposed of renting; The properties are: (1) 10 N. Bloodworth St.,
  Raleigh, NC 26701 (2) 6 N. Bloodworth St., Raleigh, NC 27601, (3) 7 N. East St., Raleigh, NC
  27601 (4) 404 E. Edenton St., Raleigh, NC 27601. The Debtor shall fund the Plan by continuing
  to lease out units in the above referenced properties.

         3.2    Closing Case. After substantial consummation of the Debtor’s Chapter 11 Plan,
  the Chapter 11 Case will be closed.

          3.3     Pre-Payment Penalties. There shall be no pre-payment penalties in the event that
  the Debtor is able to make Plan payments ahead of any scheduled dates or time frames as set
  forth in the Plan.

          3.4    Assignment of Debts. In the event the property is sold, any outstanding debts will
  be freely assignable and any and all applicable liens shall continue to run with the property.




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                                       ARTICLE IV
                                    CLASSIFICATION OF
                               CLAIMS AND EQUITY INTERESTS

          4.1     Classification of Claims and Interests.    Claims and Equity Interests shall be
  classified as follows:

         Class 1 - Allowed Administrative Expense Claims
         Class 2 – Allowed and Secured and Priority Tax Claims
         Class 3 - Ad Valorem Tax Claims
         Class 4 - Allowed Secured Claim of Bank of America
         Class 5 - Allowed Secured Claim of GreenTree Servicing, LLC
         Class 6 - Allowed Secured Claim of Wells Fargo Bank, N.A.
         Class 7 - Allowed Secured Claim of Francis and Frank Turner
         Class 8 - Allowed Secured Judgments Against Augusta Bernadette Turner
         Class 9 – Allowed Secured Judgments Against Stephena Ann Kelly Turner Williams
         Class 10 --Allowed General Unsecured Claims



                                      ARTICLE V
                             PROVISIONS FOR TREATMENT
                     OF ALLOWED ADMINISTRATIVE EXPENSE CLAIMS
                                    (Class 1 Claims)

         5.1     Description of Class. Class 1 is composed of Allowed Administrative Expense
  Claims. An Allowed Administrative Expense Claim shall be one that is: (i) an Allowed
  Administrative Expense Claim as of the Effective Date, or (ii) an Administration Claim that is
  disputed on the Effective Date which has been allowed by entry of a Final Order approving such
  Allowed Administrative Expense Claim.

          5.2    Treatment. Subject to the terms and conditions of this Article V, (i) each
  Administrative Expense Claim that is an Allowed Administrative Expense Claim on the
  Effective Date shall be satisfied in full on the Effective Date, or as otherwise may be agreed by
  the holder of such Allowed Administrative Expense Claim; and (ii) each Administrative Expense
  Claim that is disputed on the Effective Date shall be satisfied within ten (10) Business Days after
  entry of a Final Order approving such Claim as an Allowed Administrative Expense Claim, or as
  otherwise may be agreed by the holder of an Allowed Administrative Expense Claim.

         5.3      Allowance of Claims. Creditors shall file an application for payment for any
  Administrative Expense Claim on or before the Effective Date. Failure to file a timely
  application for payment shall bar any person or Entity for asserting such Claim against the
  Debtor, except any professional rendering services to the Debtor and required to file an
  application for compensation pursuant to 11 U.S.C. § 328. The Debtor shall file any objection to
  an application for payment within thirty (30) days after the Effective Date. Failure to make a

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  timely objection as to a timely filed application for payment of an Administrative Expense Claim
  shall result in the amount set forth in such timely filed application for payment being an Allowed
  Administrative Expense Claim.

         5.4     Impairment Status. Class 1 is unimpaired under the Plan.


                                   ARTICLE VI
                     ALLOWED SECURED AND PRIORITY TAX CLAIMS
                                  (Class 2 Claims)

         6.1    Description of Class. Class 2 Claims are comprised of Allowed Secured Tax
  Claims and Allowed Priority Tax Claims, except ad valorem taxes.

           6.2     Treatment. Class 2 Claims shall be paid in full with interest at the rate set by
  Internal Revenue Code sections 6601 and 6621 in equal quarterly payments, so that the last
  payment shall be due within five years of the filing date. The first such payment shall be due on
  the first day of the month following the Effective Date.

         6.3     Impairment Status. Class 2 Claims are impaired.


                                   ARTICLE VII
                  TREATMENT OF ALLOWED AD VALOREM TAX CLAIMS
                                  (Class 3 Claims)

         7.1     Description of Class. Class 3 is comprised of all claims for taxes owed by the
  Debtor to any city, county, or other municipality or taxing entity entitled to tax the property of
  the Debtor based upon the value of the property assessed.

          7.2     Treatment of Claims. Class 3 Claims shall be paid in full with interest at the rate
  set by Internal Revenue Code sections 6601 and 6621 in equal quarterly payments, so that the
  last payment shall be due within five years of the filing date. The first such payment shall be due
  on the first day of the month following the Effective Date.

         7.3     Impairment Status. Class 3 Claims are impaired under the Plan.

                               ARTICLE VIII
          TREATEMENT OF ALLOWED SECURED CLAIM OF BANK OF AMERICA
                              (Class 4 Claims)

        8.1    Description of Class. Class 4 is comprised of all Allowed Secured Claims of
  Bank of America on 6 N. Bloodworth, Raleigh, NC 27601.



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          8.2    Treatment of Claims. The Allowed Claims of Class 4 shall be placed in current,
  non-default status. The secured claim shall be amortized over thirty (30) years, or such period as
  the Court finds necessary for confirmation, at the Secured Rate. The Debtor shall make monthly
  payments according to such amortization. To be entitled to receive payments, Class 4 shall be
  required to send monthly statements to the Debtor showing the payments due and the application
  of previous payments. Payments under this Plan to Class 4 shall be made on the first day of the
  month, with the first such payment to be made on the first day of the month following the
  Effective Date. Class 4 shall retain its lien on the Debtor’s real property located at 6 N.
  Bloodworth St, Raleigh, NC 27601, until paid in full according to the terms of the Plan.

          8.3    Impairment Status. Class 4 Claims are impaired under the Plan.

                              ARTICLE IX
     TREATMENT OF ALLOWED SECURED CLAIM OF GREENTREE SERVICING, LLC
                             (Class 5 Claims)

        9.1    Description of Class. Class 5 is comprised of all Allowed Secured Claim of
  GreenTree Servicing, LLC on 7 N. East St. Raleigh, NC 27601.

          9.2    Treatment of Claims. The Allowed Claims of Class 5 shall be placed in current,
  non-default status. The secured claim shall be amortized over thirty (30) years, or such period as
  the Court finds necessary for confirmation, at the Secured Rate. The Debtor shall make monthly
  payments according to such amortization. To be entitled to receive payments, Class 5 shall be
  required to send monthly statements to the Debtor showing the payments due and the application
  of previous payments. Payments under this Plan to Class 5 shall be made on the first day of the
  month, with the first such payment to be made on the first day of the month following the
  Effective Date. Class 5 shall retain its lien on the Debtor’s real property located at 7 N. East St.
  Raleigh, NC 27601, until paid in full according to the terms of the Plan.

         9.3     Impairment Status. Class 5 Claims are impaired under the Plan.


                               ARTICLE X
      TREATMENT OF ALLOWED SECURED CLAIM OF WELLS FARGO BANK, N.A.
                             (Class 6 Claims)

         10.1 Description of Class. Class 6 is comprised of all Allowed Secured Claim of Wells
  Fargo Bank, N. A. on 404 E. Edenton St. Raleigh, NC 27601.

          10.2 Treatment of Claims. The Allowed Claims of Class 6 shall be placed in current,
  non-default status. Class 6’s Secured Claim shall be amortized over thirty (30) years, or such
  period as the Court finds necessary for confirmation, at the Secured Rate. The Debtor shall make
  monthly payments according to such amortization. To be entitled to receive payments, Class 6
  shall be required to send monthly statements to the Debtor showing the payments due and the
  application of previous payments. Payments under this Plan to Class 6 shall be made on the first

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  day of the month, with the first such payment to be made on the first day of the month following
  the Effective Date. Class 6 shall retain its lien on the Debtor’s real property located at 404 E.
  Edenton, St. Raleigh, NC 27601, until paid in full according to the terms of the Plan.


                             ARTICLE XI
   TREATMENT OF ALLOWED SECURED CLAIMS OF FRANK AND FRANCIS TURNER
                            (Class 7 Claims)

         11.1 Description of Class. Class 7 is comprised of the Allowed Claims of Frank and
  Francis Turner on 10 N. Bloodworth St. Raleigh, NC 27601

          11.2 Treatment of Claims. The Allowed Claims of Class 7 shall be placed in current,
  non-default status. Class 7’s Allowed Claim shall be amortized over fifteen (15) years, or such
  period as the Court finds necessary for confirmation, with an interest rate of five percent (5%).
  The Debtor shall make monthly payments according to such amortization. Payments under this
  Plan to Class 7 shall be made on the first day of the month, with the first such payment to be
  made on the first day of the month following the Effective Date. Class 7 shall retain its lien on
  the Debtor’s real property located at 10 N. Bloodworth St. Raleigh, NC 27601, until paid in full
  according to the terms of the Plan.

         11.3.   Impairment Status. Class 7 Claims are impaired under the Plan.

                                ARTICLE XII
         TREATMENT OF ALLOWED SECURED JUDGMENTS AGAINST AUGUSTA
                           BERNADETTE TURNER
                               (Class 8 Claims)

         12.1   Description of Class. Class 8 is comprised of all Allowed Judgments Against
  Augusta Bernadette Turner existing as of the petition date that have attached to the Debtor’s
  property.

        12.2      Treatment of Claims. Class 8’s Allowed Claims shall be paid in full directly
  from Augusta Bernadette Turner within 60 days of the effective date of the plan.

          12.3    Impairment Status. Class 8 Claims are impaired under the Plan.




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                             ARTICLE XII
    TREATMENT OF ALLOWED SECURED JUDGMENTS AGAINST STEPHENA ANN
                      KELLY TURNER WILLIAMS
                            (Class 9 Claims)

        13.1 Description of Class. Class 9 is comprised of all Allowed Judgments Against
 Stephena Ann Kelly Turner Williams existing as of the petition date.

         13.2      Treatment of Claims. Class 9’s Allow Claims shall be amortized over two (2)
 years, or such period as the Court finds necessary for confirmation, with interest at the Secured
 Rate. The Debtor shall make monthly payments according to such amortization. Payments under
 this Plan to Class 9 shall be made on the first day of the month, with the first such payment to be
 made on the first day of the month following the Effective Date. Class 9 Claims shall retain its
 lien on property of the Debtor, until paid in full according to the terms of the Plan. As of the
 Petition Date the Debtor listed three judgments against Stephena Ann Kelly Turner Williams: (1)
 Capital Ford (2) Elite Pool & Spa (3) J. Stephen Baker DDS. The judgments are listed as
 unknown in the Debtor’s petition. If any of the class 9 claims fail to file a proof of claim by the
 bar date, that claim will be denied and that creditor shall be required to file a cancelation of
 judgment with the Wake County Clerk of Court within 30 days of the Effective Date of the Plan.

        13.4   Impairment Status. Class 9 Claims are impaired under the Plan.


                                       ARTICLE XIII
                            ALLOWED GENERAL UNSECURED CLAIMS
                                      (Class 10 Claims)

         14.1 Description of Class. Class 10 is comprised of all Allowed Unsecured Claims not
treated elsewhere in the Plan.

         14.2 Treatment of Claims. The Debtor shall pay Class 10’s claims in full as of 180
days of the Effective Date of the Plan.

        14.3    Impairment Status. Class 10 claims are impaired under the Plan.


               PROVISION FOR TREATMENT OF ALLOWED CLAIMS UNDER
                  UNEXPIRED LEASES AND EXECUTORY CONTRACTS

         15.1 Unexpired Leases and Executory Contracts. The confirmation of the Plan shall act
 as an acceptance of all existing leases on which the Debtor is the lessor. The confirmation of the
 Plan shall act as an acceptance of all other executory contracts and leases, other than those
 rejected prior to confirmation of the Plan. All parties shall have thirty (30) days from the
 Effective Date to file proof of claims for rejection damages.


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                                        ARTICLE XIV
                                      CAUSES OF ACTION

        16.1 Except as expressly provided otherwise in this Plan, the Debtor may pursue any
 causes of action arising under §§ 544, 545, 547, 548, 549, 550, or 553(b) of the Bankruptcy
 Code, or under any similar provisions of applicable state law to recover any preferences or
 fraudulent conveyances from any person. Funds recovered as a result of such actions shall be
 applied first in reimbursement of attorney’s fees and other costs of such actions, and then the
 remainder shall be the property of the Debtor. The Debtor intends to pursue any and all
 actions and/or potential actions described in its schedules.

                                   ARTICLE XV
                        CONFIRMATION AS WAIVER AND RELEASE

         17.1 Waiver against and Release of Debtor. Confirmation shall constitute waiver and
 release of the right to pursue litigation and causes of action against the Debtor, which release is
 supported by the requirements of this Plan and covenants contained herein.

                                      ARTICLE XVI
                             POST-CONFIRMATION OPERATIONS

        18.1 Post-Confirmation Operations. The Debtor shall be managed and operated in
 accordance with the terms of this Plan, the organizational documents, and North Carolina law.

         18.2 Management of the Debtor. Management of the Debtor shall be vested as
 provided in the organizational documents. The manager(s) in place at the time of the petition in
 this case shall remain in place. The Debtor shall administer the terms of the confirmed Plan in
 all respects.

         18.3 Professional Compensation. Professional fees and expenses will be paid on the
 Effective Date or as soon thereafter as they are approved by the Bankruptcy Court. Fees and
 expenses occurring following confirmation will be paid without prior Bankruptcy Court
 approval.




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                                      ARTICLE XVII
                                  EXECUTION OF THE PLAN

         19.1   Payments. The Debtor will make payments of the Allowed Claims as provided in
 this Plan.

        19.2 Events of Default. The occurrence of any of the following shall constitute an
 Event of Default of this Plan.

                (i)    Failure to make payment as such payment comes due under the Plan.

         19.3 Remedies Upon Default. Upon the occurrence of any Event of Default which not
 excused, postponed, modified, or waived, and after giving notice to the Debtor and an
 opportunity to cure within 15 days, holders of claims and parties in interest may exercise all
 rights and remedies available under the Plan, the Code and state law.

         19.4 Revesting of Property of the Debtor. All of the assets of the Debtor will be
 retained by the Debtor and on the day an entry of an order confirming the Plan, the Debtor will
 hold all right, title and interest of the property of the Debtor.

                                      ARTICLE XVIII
                                MODIFICATION OF THE PLAN

         20.1 Modification Prior to the Confirmation. Modification of the Plan may be
 proposed in writing by the Debtor at any time before the Confirmation Date, provided that such
 Plan, as modified, meets the requirements of §§1122 and 1123 of the Code, and that the Debtor
 has complied with §1125 of the Code.

         20.2 Modification After Confirmation. This Plan may be modified at any time after the
 Confirmation Date and before its substantial consummation, provided that such Plan, as
 modified, meets the requirements of §§1122 and 1123 of the Code, and that the Court, after
 notice and a hearing confirms such Plan as modified.

         20.3 Deemed Acceptance or Rejection of Modification. A holder of a claim or interest
 that has accepted or rejected the Plan, as the case may be, is deemed to have accepted the Plan as
 modified unless such holder files a notice to the contrary within the time period for such notice
 affixed by the Court.

        20.4 Defects or Omissions. After confirmation, the proponents of the Plan may, with
 approval of the Court, remedy any defect or omission or reconcile any inconsistencies in the
 Plan, Disclosure Statement or the Confirmation Order in such manner as may be necessary to
 carry out the purposes and effect of the Plan, Disclosure Statement or Confirmation Order, so
 long as the such remedy does not materially or adversely affect the interests of creditors and
 other parties in interest.


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                                        ARTICLE XIX
                                      OTHER PROVISIONS

        21.1 Extension of Payment Dates. If any payment under the Plan falls due on a
 Saturday, Sunday, or other day which is not a Business Day, then such due date shall be
 extended to the next following Business Day.

         21.2 Notices. Any notice to the Debtor under any obligations created or governed by
 this Plan must be in writing and sent by registered or certified mail, postage pre-paid, and
 addressed as follows (and to such other address as the Debtor may notify the creditor in writing):


                       TURNER OAKWOOD PROPERTIES, LLC
                       Attn: Augusta B. Turner
                       10 N. Bloodworth St.
                       Raleigh, NC 27601

        With Copies to:

                       William P. Janvier, Esq.
                       Janvier Law Firm, PLLC
                       1101 Haynes Street, Suite 102
                       Raleigh, NC 27604


         21.3 Reduction of Notice Periods. The notice period applicable to service of any
 notices on the creditors otherwise applicable, pursuant to the provisions of the Code or this Plan,
 including any notice of hearing on application or allowance of compensation of professional
 persons pursuant to Section 330 of the Code, is reduced to a fifteen (15) day period, inclusive of
 the three days for mailing pursuant to Rule 9006(f) of the Bankruptcy Rules with the exception
 of any applicable notice period relating to modification of the Plan prior to or after confirmation
 pursuant to Sections 1122 and 1123 of the Code. If no objections are filed in writing with the
 Court within said fifteen (15) day notice period, any said motion may be allowed by the Court
 without the necessity of further notice or hearing.

         21.4 Exemption from Transfer Taxes. Pursuant to section 1146(a) of the Bankruptcy
 Code, the issuance, transfer or exchange of notes or equity securities under the Plan, the creation
 of any mortgage, or other security interest, the making or assignment of any lease or sublease, or
 the making or delivery of any instrument of transfer under, in furtherance of, or in connection
 with the Plan, including, without limitation, deeds, or bills of sale or assignments of personal
 property executed in connection with any of the transactions contemplated under the Plan, will
 not be subject to any stamp, real estate transfer, mortgage recording, sales, use or other similar
 tax. All sale transactions consummated by the Debtor and approved by the Bankruptcy Court on
 and after the Petition Date through and including the Effective Date, including, without

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 limitation, the sale by the Debtor of owned property pursuant to section 363(b) of the Bankruptcy
 Code and the assumption, assignment and sale by the Debtor of unexpired leases of non-
 residential real property pursuant to section 365(a) of the Bankruptcy Code, will be deemed to
 have been made under, in furtherance of, or in connection with the Plan and, thus, will not be
 subject to any stamp, real estate transfer, mortgage recording or other similar tax. In addition,
 each of the relevant state or local governmental officials or agents will forego the collection of
 any such tax or governmental assessment and accept for filing and recordation any of the
 foregoing instruments or other documents without the payment of any such tax or governmental
 assessment consistent with the applicable provisions of this Plan.

        21.5 Procedure for Payment of Professional Fees and Expense Reimbursement.
 Current counsel for the Debtor and Reorganized Debtor, and the current Court approved
 accountants for the Debtor and Reorganized Debtor shall not be subject to the fee application
 process for services rendered post-confirmation in furtherance or implementation of the
 confirmed Plan.

         21.6 No Representations or Warranties Concerning Tax Attributes/Consequences.
 Neither Debtor nor the Reorganized Debtor make any representations or warranties to any
 creditor of the Debtor concerning the tax consequence of confirmation of this Plan of
 Reorganization, the effect of this Chapter 11 case, or as to the status of tax attributes of the
 Debtor or Reorganized Debtor.

      21.7 Members and Managers of Reorganized Debtor. On the Effective Date, existing
 Managers shall succeed as managers of the Reorganized Debtor.

        21.8 Transfer of Claims. Claims may be transferred and will be honored only in
 accordance with Bankruptcy Rule 3001.


                                       ARTICLE XX
                                RETENTION OF JURISDICTION

         22.1 The Bankruptcy Court shall, after Confirmation, retain jurisdiction of this case to
 hear and determine the allowance of claims and all claims against the Debtor pursuant to Section
 502 of the Code; to determine the allowance of timely filed claims resulting from the rejection of
 executory contracts; to determine any issues in pending adversary proceedings, and in adversary
 proceedings commenced post-confirmation, including, but not limited to, avoidance or turnover
 actions; to determine any dispute as to the classification or allowance of claims; to fix and
 determine all pre-confirmation professional fees and other costs of administration; to require the
 performance of any act contemplated by the provisions of this Plan necessary for the
 consummation of the Plan; to resolve all the matters as may be set forth in the Order of
 Confirmation. In the event an appeal is perfected from the Order confirming the Plan, the
 Bankruptcy Court shall also retain jurisdiction to enter such Orders regarding the disbursement
 of funds under the Plan or the consummation thereof as may be necessary to protect the interest
 of the Debtor, its creditors and parties in interest.

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                                       ARTICLE XXI
                                  DISCLOSURE STATEMENT

        The attention of holders of claims and interests is directed to the Disclosure Statement.

                               ARTICLE XXII
          CONFIRMATION FOR IMPAIRED CLASS NOT ACCEPTING THE PLAN

         With respect to any impaired class of creditors not accepting the Plan by the requisite
 majority in number and two-thirds (2/3) in amount, the proponent of this Plan requests the Court
 to find that the Plan does not discriminate unfairly and is fair and equitable with respect to each
 class of claims or interests that is impaired under the Plan and that the Court should confirm the
 Plan without such acceptances by said impaired class or classes.

        Respectfully submitted this the 18th day of June, 2015.



                                              TURNER OAKWOOD PROPERTIES, LLC
                                              A North Carolina Limited Liability Company

                                              s/August Bernadett Turner__________________
                                               Augusta Bernadette Turner, Member/Manager



                                              JANVIER LAW FIRM, PLLC

                                              _/s/ William P. Janvier_______
                                              William P. Janvier
                                              N.C.S.B. No. 21136
                                              1101 Haynes Street, Suite 102
                                              Raleigh, NC 27604
                                              Telephone: (919) 582-2323
                                              4829-3541-7124, v. 1




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